      Case 2:14-cr-00338-DMG Document 1992 Filed 11/07/16 Page 1 of 4 Page ID #:11310

                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA

                                           CRIMINAL MINUTES - GENERAL


 Case No.         CR 14-00338-(A)-SJO-15                                                          Date     November 7, 2016


 Present: The Honorable        S. James Otero

 Interpreter       Not required:

                                                                                                      Mack Eric Jenkins
            Victor Paul Cruz                             Carol Zurborg                                 Max B. Shiner
                Deputy Clerk                    Court Reporter/Recorder, Tape No.                   Assistant U.S. Attorney



                U.S.A. v. Defendant(s):               Present Cust. Bond            Attorneys for Defendants:      Present App. Ret.

                                                                              David Sutton and Georgina
(15) Jermaine Houston                                   xx     xx             Wakefield, DFPD                         xx      xx



 Proceedings:       SENTENCING


Hearing held.

In preparation for this proceeding the Court has reviewed the following documents: The
Presentence Report (PSR) [ECF # 8484] disclosed on 08/29/2016, and the confidential letter
recommendation. The Court has reviewed the Government’s sentencing position [ECF # 1940]
filed 11/03/2016. The government concurs with the advisory United States Sentencing
Guidelines calculations and factual findings, set forth in the United States Probation Office’s
Pre-Sentence Investigation Report (“PSR”) with the exception to the government’s objection
that the PSR did not find any applicable role enhancement but appears to have applied the
wrong standard and that the PSR also erroneously omits the 2-level enhancement under USSG §
2D1.1(b)(2) for “direct[ing] the use of violence.” The government indicates that the PSR finds
a Total Offense Level of 22 and a Criminal History Category VI (17 points), which establishes a
Guidelines range of 84-105 months’ imprisonment. However, with the enhancement,
defendant’s Total Offense Level is 27, which makes defendant’s proper Guidelines range
130-162 months’ imprisonment. The government recommends the sentence as agreed to in the
plea agreement, namely, 87 months’ imprisonment. Defendant’s sentencing position [ECF #
1887] filed 10/17/2016. Defendant argues that his criminal history is overstated because the
calculation includes both dated convictions, and conduct that is part of both the RICO and drug
conspiracies in this case. Defendant indicates that a variance to criminal history category III is
appropriate in this case. Accordingly, at criminal history category III, and a final base offense
level of twenty two, the advisory Sentencing Guideline Range is 51-63 months in custody.
Defendant requests that this Court sentence him to a total prison sentence of sixty-months in
custody. The First Addendum to the PSR [ECF # 1935]. Defendant’s reply [ECF #1942] filed
CR-11 (09/98)                                         CRIMINAL MINUTES - GENERAL                                              Page 1 of 4
      Case 2:14-cr-00338-DMG Document 1992 Filed 11/07/16 Page 2 of 4 Page ID #:11311

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                               CRIMINAL MINUTES - GENERAL

11/05/2016.

Defendant acknowledges that he has reviewed all sentencing documents.

The Court overrules defendant’s objection that his criminal history is overstated.

The Court sustains the government’s objections.

Counsel argue.

Defendant exercise his right of allocution.

Having considered the sentencing factors enumerated at 18 U.S.C. § 3553(a) including the
advisory guideline range of 130 to 162 months based upon an offense level of 27 and a criminal
history category of VI, the Court imposes the following sentence:

It is ordered that the defendant shall pay to the United States a special assessment of $ 100,
which is due immediately. Any unpaid balance shall be due during the period of imprisonment,
at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate
Financial Responsibility Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has
established that he is unable to pay and is not likely to become able to pay any fine.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the
defendant, Jermaine Houston, is hereby committed on counts 1 and 12 of the first superseding
indictment to the custody of the Bureau of Prisons for a term of 84 months. This term consists
of 84 months on each of counts 1 and 12 of the first superseding indictment, to be served
concurrently.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term
of five years. This term consists of three years on count 1 and five years on count 12 of the first
superseding indictment, all such terms to run concurrently under the following terms and
conditions:

1.    The defendant shall comply with the rules and regulations of the United States Probation
Office and General Order 05-02.

2.       The defendant shall not commit any violation of local, state, or federal law or ordinance.

CR-11 (09/98)                          CRIMINAL MINUTES - GENERAL                             Page 2 of 4
      Case 2:14-cr-00338-DMG Document 1992 Filed 11/07/16 Page 3 of 4 Page ID #:11312

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                              CRIMINAL MINUTES - GENERAL

3.    The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from custody and at least two
periodic drug tests thereafter, not to exceed eight tests per month, as directed by the Probation
Officer.

4.    The defendant shall participate in an outpatient substance abuse treatment and counseling
program that includes urinalysis, breath and/or sweat patch testing, as directed by the Probation
Officer. The defendant shall abstain from using alcohol and illicit drugs, and from abusing
prescription medications during the period of supervision.

5.     During the course of supervision, the Probation Officer, with the agreement of the
defendant and defense counsel, may place the defendant in a residential drug treatment program
approved by the United States Probation Office for treatment of narcotic addiction or drug
dependency, which may include counseling and testing, to determine if the defendant has
reverted to the use of drugs, and the defendant shall reside in the treatment program until
discharged by the Program Director and Probation Officer.

6.     The defendant shall not obtain or possess any driver's license, Social Security number,
birth certificate, passport or any other form of identification in any name, other than the
defendant's true legal name, nor shall the defendant use, any name other than his true legal name
without the prior written approval of the Probation Officer.

7.       The defendant shall cooperate in the collection of a DNA sample from the defendant.

8.    The defendant shall not associate with anyone known to him to be a member of the
Broadway Gangster Crips Gang and others known to him to be participants in the Broadway
Gangster Crips Gang's criminal activities, with the exception of his family members. He may
not wear, display, use or possess any gang insignias, emblems, badges, buttons, caps, hats,
jackets, shoes, or any other clothing that defendant knows evidence affiliation with the
Broadway Gangster Crips Gang, and may not display any signs or gestures that defendant
knows evidence affiliation with the Broadway Gangster Crips Gang.

9.    As directed by the Probation Officer, the defendant shall not be present in any area
known to him to be a location where members of the Broadway Gangster Crips Gang meet
and/or assemble.

10. The defendant shall not reside in any area known as Broadway Gangster Crips controlled
territory, which includes territory claimed in South Los Angeles, the territory defined as (to the
North) Vernon Avenue, (to the East) Avalon Boulevard, (to the West) the 110 Freeway, and (to
the South) Slauson Avenue, without the prior express approval of the Probation Officer.
CR-11 (09/98)                         CRIMINAL MINUTES - GENERAL                            Page 3 of 4
      Case 2:14-cr-00338-DMG Document 1992 Filed 11/07/16 Page 4 of 4 Page ID #:11313

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                             CRIMINAL MINUTES - GENERAL

11. The defendant shall submit his person, and any property, house, residence, cell phone,
and vehicle to search at any time, with or without warrant, by any law enforcement or Probation
Officer with reasonable suspicion concerning a violation of a condition of supervised release or
unlawful conduct by the defendant, and by any Probation Officer in the lawful discharge of the
officer's supervision function.

The Court authorizes the Probation Office to disclose the Presentence Report to the substance
abuse treatment provider to facilitate the defendant's treatment for narcotic addiction or drug
dependency. Further redisclosure of the Presentence Report by the treatment provider is
prohibited without the consent of the sentencing judge.

The Court advises the Defendant of his right to appeal.

The Court recommends that the defendant shall be designated in Southern California and that he
participate in the Bureau of Prison's Residential Drug Abuse Program (RDAP).

In the interest of justice the Court dismisses all remaining counts of the First Superseding
Indictment, the underlying Indictment and the Information establishing prior convictions [ECF
#766].

The Court grants defendant’s request that the Presentence Report shall be amended to indicate
that there was no juvenile adjudication as to paragraph 92 and the in regards to paragraph 94,
the matter was rejected by the District Attorney’s office.
                                                                                   :    0/49

                                                      Initials of Deputy Clerk
cc: PROBATION OFFICE




CR-11 (09/98)                        CRIMINAL MINUTES - GENERAL                                Page 4 of 4
